                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 20-03031-02-CR-S-SRB
                                                    )
JESSIE R. THOMAS,                                   )
                                                    )
                          Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One, Ten,

Twelve and Thirteen and admitted to Forfeiture Allegation One contained in the Second

Superseding Indictment filed on May 6, 2021, is now Accepted and the Defendant is Adjudged

Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                           /s/ Stephen R. Bough
                                                         STEPHEN R. BOUGH
                                                    UNITED STATES DISTRICT JUDGE




Date: July 7, 2021




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